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 6

 7
                    IN THE UNITED STATES DISTRICT COURT
 8
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,          ) Case No.: 1:11-CR-00428-LJO
                                        )
11             Plaintiff,               )
                                        )
12       vs.                            ) STIPULATION AND ORDER TO
                                        ) CONTINUE SENTENCING
13                                      )
                                        )
14   RONALD WILKOWSKI,                  )
                                        ) Date: August 5, 2013
15             Defendant.               ) Time: 8:30 a.m.
                                        ) Hon. Lawrence J. O’Neill
16

17       Plaintiff United States of America, by and through its
18   counsel of record, and defendant, by and through his counsel
19   of record, hereby stipulate as follows:
20       1. By previous order, this matter was set for sentencing
21   on August 5, 2013, at 8:30 a.m.
22       2. By this stipulation, defendant now moves to continue
23   the sentencing until September 23, 2013, at 8:30 a.m.
24       3. The parties agree and stipulate, and request that the
25   Court find the following:
26             a. The Defendant has requested his medical records
27       and is waiting for the Doctor’s Office and Pharmacy to
28       provide them to Defense Counsel.           Partial records have
                                         - 1 -
                Stipulation and [Proposed] Order to Continue Sentencing
                             CASE NO.: 1:11-CR-00428-LJO
                           Case 1:11-cr-00428-LJO-SKO Document 53 Filed 07/18/13 Page 2 of 2


 1                            been obtained, however, additional records are needed. The
 2                            additional time is needed to review the records and
 3                            consult with the Doctor.
 4                                  b. The government does not object to the continuance.
 5   IT IS SO STIPULATED.
 6   Dated: July 18, 2013
 7                                                                /s/ Laurel J. Montoya _
                                                                  Assistant United States
 8                                                                Attorney
 9

10   Dated: July 18, 2013
11                                                                /s/ Anthony P. Capozzi
                                                                  Anthony P. Capozzi
12                                                                Attorney for
                                                                  RONALD WILKOWSKI
13

14                                                           ORDER
15

16                            For reasons set forth above, the continuance requested by
17   the parties is granted.
18                            IT IS ORDERED that the Sentencing currently scheduled for
19   August 5, 2013, at 8:30 a.m. is continued to September 23,
20   2013, at 8:30 a.m.
21

22
     IT IS SO ORDERED.
23

24                         Dated:   July 18, 2013                    /s/ Lawrence J. O’Neill
                                                                  UNITED STATES DISTRICT JUDGE
25   DEAC_Signature-END:




26   66h44d
27

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                                      Stipulation and [Proposed] Order to Continue Sentencing
                                                   CASE NO.: 1:11-CR-00428-LJO
